           Case 1:15-vv-00715-UNJ Document 30 Filed 07/15/16 Page 1 of 7




In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

*********************
SASHA MARTIN, parent, on behalf *
of, A.N.M., a minor (deceased),      *      No. 15-715V
                                     *      Special Master Christian J. Moran
                  Petitioner,        *
                                     *      Filed: June 23, 2016
v.                                   *
                                     *      Stipulation; Hepatitis A, Haemophilus
SECRETARY OF HEALTH                  *      influenza type b, measles-mumps-
AND HUMAN SERVICES,                  *      rubella, pneumococcal conjugate, and
                                     *      varicella vaccines; death.
                  Respondent.        *
*********************
Michael F. Becker, The Becker Law Firm, Elyria, OH, for Petitioner;
Gordon Elliot Shemin, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

      On June 23, 2016, the parties filed a joint stipulation concerning the petition
for compensation filed by Sasha Martin, on behalf of her deceased minor child,
A.N.M., on July 9, 2015. In the petition, petitioner alleged that the Hepatitis A,
Haemophilus influenza type b, measles-mumps-rubella, pneumococcal conjugate,
and varicella vaccines (collectively, “the vaccines”), which are contained in the
Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which A.N.M.
received on or about July 10, 2013, caused A.N.M. to suffer a Table
encephalopathy that caused her death on July 18, 2013. Alternatively, petitioner
alleges that A.N.M.’s death was caused-in-fact by the vaccines. Petitioner
represents that there has been no prior award or settlement of a civil action for
damages on behalf of A.N.M. as a result of her condition and/or her death.



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         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
           Case 1:15-vv-00715-UNJ Document 30 Filed 07/15/16 Page 2 of 7



       Respondent denies that A.N.M. suffered a Table injury as a result of
receiving the vaccines, and further denies that the vaccines caused her any injury
or her death.

      Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:
       a. A lump sum of $29,388.36, representing reimbursement of a
          Medicaid lien from the State of Ohio, in the form of a check payable
          jointly to petitioner and

               Ohio Tort Recovery Unit
               350 Worthington Road, Suite G
               Westerville, Ohio 43082

       Petitioner agrees to endorse this check over to the State; and

       b. A lump sum of $300,000.00 in the form of a check payable to Sasha
          Martin, as Legal Representative of the Estate of A.N.M. This
          amount represents compensation for all remaining damages that
          would be available under 42 U.S.C. § 300aa-l 5(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 15-715V according to this decision
and the attached stipulation.2

      Any questions may be directed to my law clerk, Shannon Proctor, at
(202) 357-6360.

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master

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          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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       Case 1:15-vv-00715-UNJ Document 30
                                       26 Filed 07/15/16
                                                06/23/16 Page 3
                                                              1 of 7
                                                                   5




               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


                                              )
SASHA MARTIN, parent, on behalf of            )
A.N.M., a minor (deceased)                    )
                                              )
               Petitioner,                    )        No. 15-715V
                                              )        Special Master Moran
       v.                                     )        ECF
                                              )
SECRETARY OF HEALTH AND                       )
HUMAN SERVICES                                )
                                              )
               Respondent.                    )


                                         STIPULATION

       The parties hereby stipulate to the following matters:

       1. Sasha Martin ("'Petitioner") filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-l 0 to 34 (the "Vaccine

Program"), on behalf of her deceased minor child, A.N .M. The petition seeks compensation for

injuries allegedly related to A.N.M.'s receipt of the Hepatitis A, Hemophilus influenza type b,

measles-mumps-rubella, pneumococcal conjugate, and varicella vaccines (collectively, "the

vaccines") which are all vaccines contained in the Vaccine Injury Table (the "Table"), 42 C.F.R.

§ 100.3 (a).

       2. A.N.M. received the vaccines on or about July 10, 2013 .

        3. The vaccines were administered within the United States.

        4. Petitioner alleges that as a result of receiving the vaccines, A.N .M. suffered a Table

encephalopathy that caused her death on July 18, 2013. Alternatively, petitioner alleges that

A.N.M .' s death was caused-in-fact by the vaccines.



                                              Page 1of5
        Case 1:15-vv-00715-UNJ Document 30
                                        26 Filed 07/15/16
                                                 06/23/16 Page 4
                                                               2 of 7
                                                                    5




       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on behalf of A.N.M. as a result of her condition and/or her death.

       6. Respondent denies that A.N .M. suffered a Table injury as a result of receiving the

vaccines, and fm1her denies that the vaccines caused her any injury or her death.

       7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S .C . § 300aa-21(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payments:

       a.      A lump sum of $29,388.36, representing reimbursement of a Medicaid lien from
               the State of Ohio, in the form of a check payable jointly to petitioner and

                       Ohio Tort Recovery Unit
                       350 Worthington Road, Suite G
                       Westerville, Ohio 43082

        Petitioner agrees to endorse this check over to the State; and

        b.     A lump sum of $300,000.00 in the form of a check payable to petitioner as Legal
               Representative of the Estate of A.N. M. This amount represents compensation for
               all remaining damages that would be available under 42 U.S.C. § 300aa-l 5(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.




                                              Page 2of5
       Case 1:15-vv-00715-UNJ Document 30
                                       26 Filed 07/15/16
                                                06/23/16 Page 5
                                                              3 of 7
                                                                   5




        10. Payments made pursuant to paragraph 8 of this Stipulation, and any amount awarded

pursuant to paragraph 9 of this Stipulation, will be made in accordance with 42 U.S.C. § 300aa-

l 5(i), subject to the availability of sufficient statutory funds .

        11. Petitioner represents that she presently is, or within 90 days of the date of judgment

will become, duly authorized to serve as the legal representative of A.N.M. ' s estate under the

laws of the State of Ohio. No payment pursuant to this Stipulation shall be made until petitioner

provides the Secretary with documentation establishing her appointment as the legal

representative of A.N .M. ' s estate. If petitioner is not authorized by a court of competent

jurisdiction to serve as the legal representative of A.N.M.' s estate at the time a payment pursuant

to this Stipulation is to be made, any such payment shall be paid to the party of parties appointed

by a court of competent jurisdiction to serve as the legal representative of the Estate of A.N .M.

upon submission of written documentation of such appointment to the Secretary.

        12. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and as the legal representative of A.N.M.' s estate, on her own behalf, and on

behalf of the Estate and A.N .M. ' s heirs, executors, administrators, successors and/or assigns,

does forever inevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Com1 of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S .C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of A.N .M. resulting

from, or alleged to have resulted from, the vaccines administered on or about July 10, 2013 , as



                                                 Page 3of 5
       Case 1:15-vv-00715-UNJ Document 30
                                       26 Filed 07/15/16
                                                06/23/16 Page 6
                                                              4 of 7
                                                                   5




alleged in a petition for vaccine compensation filed on or about July 9, 2015 , in the United States

Court of Federal Claims as petition No . 15-715V.

        13. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties '

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        14. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, except as otherwise

noted in paragraph 9 above. There is absolutely no agreement on the part of the parties hereto to

make any payment or to do any act or thing other than is herein expressly stated and clearly

agreed to . The parties further agree and understand that the award described in this Stipulation

may reflect a compromise of the parties' respective positions as to liability and/or amount of

damages.

        15. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that A.N.M. sustained a Table injury, or that the

vaccines caused A.N .M. any injury or her death.

        16. All rights and obligations of petitioner hereunder shall apply equally to petitioner' s

heirs, executors, administrators, successors, and/or assigns as legal representatives of the estate

ofA.N .M .

                                     END OF STIPULATION




                                               Page 4of 5
 Case 1:15-vv-00715-UNJ Document 30
                                 26 Filed 07/15/16
                                          06/23/16 Page 7
                                                        5 of 7
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Respectfully submitted,

PETITTONER:


SASHA MARTIN


A1TORNEYOFRECORDFOR                            AUTHORIZED REPRESENTATIVE



v::r~
                                               OF THE ATTORNEY GENERAL:


                                               ~ V-- ·
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                                        Page 5of5
